Case 2:24-cv-06089-JMA-AYS   Document 13-4   Filed 09/20/24   Page 1 of 4 PageID #:
                                     137




                       EXHIBIT D
      Case 2:24-cv-06089-JMA-AYS                     Document 13-4           Filed 09/20/24          Page 2 of 4 PageID #:
                                                             138



From:                                  David Forrest <dforrest@loeb.com>
Sent:                                  Tuesday, September 17, 2024 7:14 PM
To:                                    Mario Gazzola
Cc:                                    Michael Carlinsky; Laura Santos-Bishop; Pedro Souza; John Piskora
Subject:                               RE: Activity in Case 2:24-cv-06089-JMA-AYS SDN Limited et al v. IOV Labs Limited et al
                                       Scheduling Order


                                           [EXTERNAL EMAIL from dforrest@loeb.com]




Mario,

We do not consent to adjourning the Initial Conference. You already filed a letter requesting that the Court direct
Plaintiffs to file their Complaint by a certain date and the Court directed the Initial Conference in response.

Separately, we think the conference would be helpful for multiple reasons. Among others: 1) the Court can set a time
for Plaintiffs to file their complaint at the conference; 2) Plaintiffs can advise the Court that their currently pending
motion for an extension of time to complete service (which was filed in state court) need not be resolved because there
is no time limit for service of international defendants under Rule 4(m); and 3) the parties can enter a discovery
scheduling order including for documents that can be exchanged “without the necessity for formal document requests”
as required by Magistrate Judge Shields’ rules (which would certainly include any agreements between your clients and
either Steven Nerayoff or SDN Limited).

David




David Forrest
Attorney At Law



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Los Angeles | New York | Chicago | Nashville | Washington, DC | San Francisco | Beijing | Hong Kong | www.loeb.com



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immediately notify the sender. Please destroy the original transmission and its attachments without reading or saving in any manner.
Thank you, Loeb & Loeb LLP.



From: Mario Gazzola <mariogazzola@quinnemanuel.com>
Sent: Wednesday, September 11, 2024 12:15 PM

                                                                     1
     Case 2:24-cv-06089-JMA-AYS               Document 13-4          Filed 09/20/24       Page 3 of 4 PageID #:
                                                      139
To: David Forrest <dforrest@loeb.com>; John Piskora <jpiskora@loeb.com>
Cc: Michael Carlinsky <michaelcarlinsky@quinnemanuel.com>; Laura Santos-Bishop
<laurasantosbishop@quinnemanuel.com>; Pedro Souza <pedrosouza@quinnemanuel.com>
Subject: FW: Activity in Case 2:24-cv-06089-JMA-AYS SDN Limited et al v. IOV Labs Limited et al Scheduling Order




Counsel:

Pursuant to the below, please confirm that Plaintiffs will be filing a full complaint by September 19, 2024 pursuant to
CPLR 3012(b).

Given that a full complaint has not yet been filed, that not all defendants have been served, and that this case presents
significant threshold issues warranting a stay of discovery, please let us know your position on adjourning the pretrial
conference until a date after filing of a full complaint and effective service upon all defendants.

Best,
Mario

Mario O. Gazzola
212-849-7102 Direct
919-360-1686 Cell


From: ecf_bounces@nyed.uscourts.gov <ecf_bounces@nyed.uscourts.gov>
Sent: Tuesday, September 10, 2024 12:32 PM
To: nobody@nyed.uscourts.gov
Subject: Activity in Case 2:24-cv-06089-JMA-AYS SDN Limited et al v. IOV Labs Limited et al Scheduling Order

                                  [EXTERNAL EMAIL from ecf_bounces@nyed.uscourts.gov]




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viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                                  U.S. District Court

                                            Eastern District of New York

Notice of Electronic Filing

The following transaction was entered on 9/10/2024 at 12:31 PM EDT and filed on 9/10/2024
Case Name:           SDN Limited et al v. IOV Labs Limited et al
Case Number:         2:24-cv-06089-JMA-AYS
Filer:
                                                             2
     Case 2:24-cv-06089-JMA-AYS           Document 13-4       Filed 09/20/24   Page 4 of 4 PageID #:
                                                  140
Document Number: 12

Docket Text:
ORDER: An IN-PERSON Initial Conference is set for 9/30/2024 at 11:30 AM in Courtroom 840
before Magistrate Judge Anne Y. Shields. See order and attachment.Ordered by Magistrate
Judge Anne Y. Shields on 9/10/2024. (Attachments: # (1) AYS RULES) (JT)


2:24-cv-06089-JMA-AYS Notice has been electronically mailed to:

Michael B. Carlinsky    michaelcarlinsky@quinnemanuel.com, kellyscott@quinnemanuel.com

John Anthony Piskora     jpiskora@loeb.com, jpiskora@ecf.courtdrive.com, nydocket@loeb.com

Mario O. Gazzola    mariogazzola@quinnemanuel.com

David A. Forrest   dforrest@loeb.com, dforrest@ecf.courtdrive.com, nydocket@loeb.com

2:24-cv-06089-JMA-AYS Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP NYEDStamp_ID=875559751 [Date=9/10/2024] [FileNumber=19291510-0]
[a33688298a325b4d1164e4c836881a69ee7852553ea01649b7b75b68d072e2afe936
f925a19cc5bc33fae702a7ce855366c06fcb0fa28c07d977612be3dad06e]]
Document description: AYS RULES
Original filename:n/a
Electronic document Stamp:
[STAMP NYEDStamp_ID=875559751 [Date=9/10/2024] [FileNumber=19291510-1]
[c50a742943bfce592aad2c8e3e840231123559e87e6526c49aebbaef97300e6b5821
e9e45dc7e821c2211d751579f97c32b473a48539fb3abdf963dca7fdbfd7]]




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